Case 2:22-cv-00571-JRS-MJD Document 13-1 Filed 01/26/23 Page 1 of 36 PagelD #: 424

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

 

TERRE HAUIE DIVISION
MARTIN GOTTESFELD, Petitioner, ;
pro 42, ) .
Ve ) No. 2:22-cv-571-JRS-MJD.
T. RULE, Warden of The
Federal Correctional Institution, )
Terre Haute, Indiana, )
Respondent. \

 

SUPPLEMENTAL PETITION FOR A WRIT OF HABEAS CORPUS (§ 2241)

3/1. Respondent's records will show that on Friday, Decatber 30, 2022, Petitioner was about
10 minutes into Petitioner's scheduled call with ClA-whistleblower Mc. John Kiriakou, who exposed
the Bush-era tortume program, when Respondent cut Petitoner's call. See CORRLIMS thread 2027-12-
30|Thely] cut the call, Fe. 14.

3/2. Petitioner and Mr. Kiiakou were discussing, when Respondent cut the call, a set of
trial transcripts indicative that Respondent uses his comunications+renegenent unit (WU) not to
protect the public but to prevent the public fron learnirg of felonious goverment miscorket di
ing and after the Justice Department's botched Operation Fast and Furious. Td. ("I was talking
with John at the 10-minute mark of our call about Operation Fast and Furiaus and they cut the
call"). See aso Arthur Bloom, The Knoxville Kingpin Who Wasn't: A black NRA member sitting in a
prdson for terrorists may be the missing Link in Fast and Furious, The Anecican Conservative (Nov.
24, 2020), available at Gottes {eld v. Lammen, 2:20-cv-12-JRS-MD (S.D. Ind.) (hereinafter Lane) ,
dkt. 100-41; Bloom, More Odd Details In The Donald Reynolds, Jn. Case: Further appanent obstuc-
tion of his communications, plus a newly obtadned Laiisuit by Reynolds against a confidential wit-
ness (Mar. 17, 2021), available at Lamnen, dct. 100-42; Declaration of Martin Gottesfeld re Ex-
houstion, Retakiation & Justiciabikity (hereinafter "ERJ Decl.") at 1M 104-08, 1%-96, 226-27,
Lanmen, dkt. 100 (Respondent et at. falsified a disciplinary charge against Mc.iDorald Reynolds,
then retoved the staff metorandim of Mc. S. Harvey documenting said falsification fron Reynolds's
renedy mailing).

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373. As Petitioner told Mr. Kiriakou: "There was no legitimate reason to cut-our call. Doing
so implicated your First Anendment rights along with mine." CORRLIMS thread 2022-1230|Thely!
aut the cakk, Exh. 14.

374. No explanation was ever tendered to Petitioner to attempt to justify the temnination of
his call with Mc. Kiriakou and no disciplinary charge was filed.

3/5. Petitioer used, vhen able, all his subsequent calls to call his nephew Mc. Benjamin
Brown, Esq., Attomey at Lav.

376. Petitioner began his very next call at 9:00 A.M. New Years Day 2023 by confining that
Mc. Brown is in fact an attamey. See Katz v. United States, 389 U.S. 347, 351-52 (1967) (recog
nizing reasonble expectations of privacy even in public places and accamdations).

377. Petitioner and Attomey Brown discussed ways for Mr. Brown to assist Petitioner with
the instant case and other matters.

378. Petitioner would have preferred an open-ended legal call to discuss legal matters but
Respondent has refused Petitioner even a single legal call ever sirce Petitioner's return to FCI
Terre Haute on Noverber 11, 2022, in violation of Respondent's om policies and this circuit's
precedents. "The core of attomey work product consists of ‘the mental impressicns, conclusions,
opinions, or legal theories of a party's attorney or other representative concerning the litiga-
tion." Menasha Corp. v. United States 005, 707 F.3d 846, 847 (7th Cir. 2013) (Posner, J.) (quo-
ting Fed. R. Civ. P. 26(b)(3)(A)(ii)). "The opposing party shouldn't be allowed to take a free
ride on the other party's research, or get the inside dope on that perty's strategy, ac invite the
trier of fact to treat candid internal assessments of a party's legal vulnerabilities as admis-
sis of guilt.’ Id. (intemal quotation, alteration and ellipsis marks and citation omitted).

379. Further the United States Postal Service has failed to timely deliver, or deliver at
all, Petitioner's time-sensitive privilesed milings to Attomey Brown. See Legal Calls BP-10 As
Subm, , Jan. 20, 2023, Dedupl., Exh. 15 (showing copies of returned mailings fran Petitioner to At-
torney Brown and materially indistiguishable successful mailings elsevhere).

380. "There is only one federal goverrment."’ United States ve Retna-Det-Rosarto, 281 F.

Supp. 3d 253, 254 (D.P.R. 2017) (construing acts of other goverrment entities against prosecutors

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in STA calculation). And the U.S. Postal Service is part of that single federal goverment. See,
e.g-, 39 U.S.C. (statutes governing the postal service), 39 C.F.R. (regulatios for the postal
service).

31. Furthemore, that single federal goverment that inclurles Respordant and the postal
service, refuses to permit Petitioner to use third-party carriers for his legal mail. See U.S.
Dep't of Justice, Fed. Bureau of Prisons, Program Statanent 5800.16 Mail Management Manual at §
3.3 Inmate Mail Services ("Outgoing express mail, UPS (aml other private carriers) are not provi-
ded") (Apr. 5, 2011).

382. Petitioer ended his Sunday, January 1, 2023, call with Attorney Brow by advising At~
tormey Brown that Respondent had cut. Petitioner's Friday, Decatber 30, 2022, call with Mc. Kiria-
kou when Petitioner and Mr. Kiriakou began discussing trial transcripts relevant to Operation Fast
and Furious.

383. Petitioner's next call with Attomey Brown was scheduled for 5:40 P.M. Friday, January
6, 2023.

384. Circa 9:25 A.M. Friday, January 6, 2023, every TRUst-fund Limited INmate Computer Sys-
ten (IRULINCS) carputer in the QW refused to allow Petitioner to log-on. Each conputer displayed
the same red error message that it had been disabled by the BOP.

385. Petitioner was unable to call Attomey Brown that evening. ‘The Inmate Telephone System.
(ITS) too played an error message indicating it had ben intentionally disabled.

386. Respordent thus effectively held Petitimer incommuntcade until noon, Tuesday, January
10, 2023, when he wes again able to call Attomey Brown and TRULING inexplicably again began to
work.

387. Petitioner had that call and two others with Attorney Brown at 1) 5:40 P.M. Friday,
January 13, 2023, and 2) Tuesday, January 17, 2023, during which Petitioer and Attomey Brom.)
discussed Attorney Brown's possible appearance pw hac vice in this case and association with loc-
al cansel, as well as the case generally.

388. Petitioner, for instance, leamed of the Court's Order at dkt. 11 from his call with -

Attormey Brown on Friday, Jawary 13, 2023, and last received the status of the docket, i.e. that

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rothing further had been entered, on his call with Attorney Brom at noon Eastem Time, Tuesday,
January 17, 2023.

389. The next day Respondent neglected to process Petitioner's CORRLINKS messages. See CR-
BLINKS Massage No mes sages today| 2023-01-18 ("I've received no electronic messages today"), Exh.
16.

300. Cixea that sane time Petitioner learned that, unlike many of Respondent's prior stances
limiting FSA credit that he has since abandoned, Respondent is maintaining his stance that Peti-
tioner may not earn credit while he refuses to participate in Respordent's Inmate Financial Res-
ponsibility Progran (IFRP).

301. Petitioner was marked as ''TERP refused!’ during the 2021 dnig-ediration FSA prodictive

activity (PA) and the first part of the 2022 presumetparticipation period prior to his arrival at

 

U.S.P. Marion on Jan. 21, 2022. See Anended Petition at 1 33-% (Petitioner completed FSA PA
drug-ed. July 8, 2021) (citatis omitted), dkt. 12 at 10; 4d. at {1 36 (Respondent again presumed
participation from Jan. 15, 2022, forward) (citations anitted); FRJ Decl. at Si, ff 370-74 (M.
Todd Royer demanded $300 monthly payments from Petitioner ard similar payments fran others who had
each reported Mc. Royer's violations of the Prison Rape Elimination Act (PREA)), Lammen, dkt. 100
at 69; Amended Petition at 11 191—% (Petitioner established a $25-per-quarter IFRP plan almost
immediately upm arrival at U.S.P. Marion that remained in place until Eisele et at. unilaterally
demanded $1,300 per quarter the same day Petitioner requested a tineliness mam. adverse to Eisele
et al.), dkt. 12 at 2.

302. Qn Thursday, Jamary 19, 2023, Petitioner submitted a relevant informal-resolution re-
quest ("BP-8"). See Trustee Conflict of Interest BP-8 As Subn., Exh. 17.

303. For the second consecutive day Respondent neglected to process Petitioner's CORRLINS
messages. See CORRLINKS Message No messages tuo days in a now] 2027-01-19, Exh. 18 ("Kindly be at
vised that if you've sent me electronic correspondene after cixca 7:21 A.M. Tuesday, January 17,
2023, I'm yet to receive it'’).

304. That sane day Respondent delivered to Petitioner documentary. evidence of Respandent's

prior restraint against Petitioner's and Petitioner's spouse's marital speech. See U.S. Dep't of

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Justice, Fed. Bureau of Prisons, Form BP-AQ237 Returned Correspondence, Exh. 19 (mail fran "Dana
Gottesfled[sic]" was "rejected" because, “This is an unauthorized contact").

395. Also on that cay, Petitioner electronically inquired as to the status of the docket.
See CORRLINKS Message Docket & tracking update? | 2023-01-19, Exh. 2 ('May I please get updates as
to 1) whether any new entries after number 12 appear on the Rule docket [...]").

3%. ‘The next day Petitioner tumed over to-Respondent care, custody and control of a rele-
vant central-office remady that Petitioner had completed after mil call the previous day. See
Trustee Conflict of Interest BP-11 As Subm., Exh. 21 (quoting 28 G.F.R. § 542.14(d)(5) (ume 18,
2010; 75 FR 34625, 3462) ('[Flonral administrative remedy requests regarding initial decisions
that did not originate with the Warden[sic] ar his/her staff, may be initially filed with the Brr-
eau office which made the original decision")).

 

397. ‘That day Responlent again neglected to process Petitioner's CORRLINKS messages.

398. Later that day, Friday, January 20, 2023, when Petitioner tried to place his scheduled
5:40 P.M. call to Attomey Brown, the phone played an automated message saying his "account has
been restricted by the institution."

399. Petitioner went to send Attomey Brown a CORRLINKS message but the computer refused to
let him proceed, saying: ''You do not have access to this service."

400. Petitioner has received no weitten explanation of the blanket restrictions m his tele-
Phone and electronic messaging, his postal and all other cammications with his wife, or the ap-
parent postal errors of his privileged mailings to Attorney Brown.

401. At first Petitioner worried the telephone and CORRLINS restrictions resulted from his
remedies about the BOP's conflicts of interest in nmning the trust fund, because CORRLINKS and
the TTS are both parts of trust find.

402. But when Petitioner tested that theory he was able:to purchase music through the trust
fund after the camunications restrictions were introdiced and pay 15¢ per page to print fron TRb
LINCS. See Fed.. Bureau of Prisons, Media Transactions—TRULINGS, Exh. 22 (showing Petitioner's
purchase of Hanukkah Blessings at 1/20/2023 7:08:07 IM' for 24 TRU-units [$1.20]).

403. ‘Two days later, Sunday, January 22, 2023, CORRLINKS tells Petitimer he has a new ur

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read message but 1) the systen will not allow Petitioner to read it and 2) based on Petitioer's
usual. volume of messages, more than one message was, more. likely than not, sent to Petitioner in
the period in question, i.e. from 7:21 A.M. Tuesday, January 17, 2023, until 5:00 P.M. Sunday,
January 22, 2023.

404, Without telechonic or electronic commication since 12:00 P.M. Tuesday, January 17,
2023, Petitioner remains unaware of any updates on the docket since that time; he has received
nothing from the Court or Respondent entered after Order, dkt. 11.

405, Additionally, Petitioner was in the process of verifying the proper entry of potential-
ly dispositive exhibits when Respondent cut-off Petitioner's cammnications. See, e.g., CORRLINKS
Message Rule dkts. 1-1 et seq. |2023-01-15, Exh. 23 (inquiring into dkts. 1-13, -14 ad ~15).

406. Should the Court have any trouble finding an exhibit docketed where Petitioner indtica-
ted it should be, it need aly inquire upon Petitioner and provide him the particular citatio or
citations in question and Petitioner shall forthwith verify or correct the relevant filings.

407. Petitioner notes, again, his exhaustion as to his "“'right to access the Courts without
interference and delay." Court-access BP~11 Cent. Office's Resp., Lammen, dkt. 100-58 at 2.

408. Generously construed, Petitioner's exhaustion of his right to access the courts with-
"interference and delay," supra, necessarily includes his right to confer with Attomey Brom and
other attorneys to seek representation in this case and others: "the right to be heard would be,
in many cases, of little avail if it did not comprehend the right to be heard by coumsel."' Powell
v. Atabana, 287 U.S. 45, 68-69 (1932). "Even the intelligent and educated layman has small and
sometimes no skill in the science of law." Id.

409. Petitioner notes further that Attomey Brown is assisting Petitioner in the preperation
of his Section-2255 motion attacking Petitioner's conviction, a fact known to Resporent at all
relevant times.

410. Petitioer faces an umovable statutory Limitation to file his Section-2255 motion. 28
U.S.C. § 2255(£)(1) ("A 1-year period of limitation shall apply to a mtion under this section
from "'the date on which the julgnent.of canviction becomes final").

411. Respondent further knows that Petitioner's specific Section-2255 motion likely will re-

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quire successive Freedom of Information Act (FOIA) requests, each requiring potential litigation,
such that, shaild the postal service axkdenly stop mishandling Petitimer's privileged letters to
Attorney Brown, the campletion of Petitioner's Section-2255 motion before the statutory deadline

requires sporadic telephonic communication between Petitioner and Attoimey Brown.

412. Petitioner further notes his exhaustion as to Respondent's unconstitutionally vague or
vbolly unwritten ex post facto restraints on Petitioner's speech: "You contend it is a violation
of due process to implerent rules that are not codified.'' Ex Post Facto BP-11 Cent. Office's
Resp. , Lanmenx, dxt. 100-59 at 2.

413. Petitioner asserts that Respondent's actions simultaneously 1) denying Petitioner ary
and all camunication with Petitioner's wife without producing a sirgle witten explanation for
the price restraint or a definite time of its duration, 2) denying Petitioner legal calls during
his one-year period to file his Section-2255 motion and litigation of this case, 3) denying Peti-

tioner reliable legal mail to attorneys, and 4) now denying Petitioner indefinitely and without
weitten explanation or due process of any kind all electronic and telephonic commication, anount

 

to an atypical and significant prison hardship requiring habeas relief under Sandin v. Conner, 515
U.S. 472, 484 (1995).

414. ‘Throwh this Supplenental Petition, Petitioner secks as part of the requested writ of
habeas corpus that the Court command Respondent to allow Petitioner typical communication oppor-
tunities with Petition:'s wife and others and typical legal commications opportunities, incl
ding legal calls, without subjecting any of the aforesaid comnications opportunities to vague or
unwritten prior restraints or undue interference or delay, as Petitioner requested in his relevant
BP-11s,

415. Petitioner fucther herein asserts that Respondent may not withhold from Petitioner FSA
time credit due to any past period ar periods of Petitioner's IFRP refusal.

416. First, Respondent's operation of the IFRP while he remains a trustee of the inmte ...
trust funxd—and indead uses privileged fidiciary knowledge adversely to beneficiaries—is mani-
festly unlawful.

417. "The following ave classified as trust funds[...] (21) Funds of Federal prisoeré[...]

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(22) Commissary funds, Federal prisons." 31 U.S.C. § 1321(a).

418. "Tt is well-established that a common-law trust arises. vhen three elements are present,
nately, a trustee, a beneficiary, and a trust corpus." White Mt. Apache Tribe v. United States,
249 F.3d 1364, 1373 (Fed. Gir. 2001) (citing Restatement (Second) of Trusts § 2 amt. h (4959))
(other citations omitted).

419. For the inmate trust fund central to the IFRP, the Bureau is the trustee and ficiary,
the settlors are prisoners' families and other benefactors, the trust corpus is the monies the
settlors send to the BOP for the prisoners’ benefit, and the beneficiaries are the prisoners: ‘The
"Tate Trust Fund' is "'a trust administered by the United States goverrment that provides prog-.
rans, goods, and services to federal prison inmtes nationwide." Mayda v. United States, 632 .
F.3d 166, 168 (D.C. Gir. 2010).

420. Other laws and regulations do not materially alter the above facts, 2.g., 18 U.S.C. §
3664 (restitution required for property crimes), 28 C.F.R. Part 545 (IFRP).

471. Tn Maydak at 169, where the BOP used trust assets for law-enforcement purposes, the
district court properly supervised that the ''BOP hed satisfactorily reimbursed the Trust Fund for
any misappropriations."

422. This was required because, "Fiduciacies have an unflagging duty of loyalty to the bane
ficiaries whon they serve, and to avoid conflicts of interest." In 1e Sunshine Jas Stones, Ine.,
456 F.3d 1201, 1315 (11th Cir. 2006) (citation amitted).

423. More specifically: "A fiduciary of a trust has 'a duty to the beneficiary to adninister
the trust solely in the interest of the beneficiary.'" Davis v. Richards, 7 F.4th 5% (7th Cir.
2021) (quoting Restatement (Second) of Trusts § 170(1)) (emphasis added). "The reason for such a
strict and exckusive duty of Loyalty stems from the unique trust relationship, where a thind party
is entrusted with a settlac's property to be used for the beneficiary."" Id. (emphasis added).

424. But Respondent uses his trusteeship to operate the IFRP adversely to Petitioer as a
beneficiary, for law aid-debt-enforcanent purposes, to benefit Respondent (the government) and
third parties. See, 2.g., U.S. Dep't of Justice, Fed. Bureau of Prisons, Progran Statement .

5380.08 Financial Responsibility Progran, Inmate at ch. 1 (Avg. 15, 2005) (""the Victim and Witness

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Protection Act of 1982, the Victims of Crime Act of 1984, the Comprehensive Crime Control Act of
1984, and the Federall Debt Collection Procedures Act of 1990 require a diligent effort on the part
of all law enforcement agencies to collect court-ordered financial obligations"). "Appropriate
consequences will be incurred for immtes who refuse to participate in the Immte Financial Res-
ponsibility Program or fail to comply with their financial plan's provisios." Id. at ch. 3c).
"The inmate is responsible for [...] providing documentation of [...] payments to unit staff."

Id. at ch. 8 (quoting 28 C.F.R. § 545.11(b)) (alterations added). "At each progran review, when
reviewing the inmte's financial plan, the Unit Team mst: detemine the total funds deposited in-
to the inmate's trust fund accamt." Id. at ch. 8(b). ‘The Unit Manager is the detemining auth-
arity when it comes to deciding whether an inmate's JFRP payments are commensurate with his/her
ability to pay. This decision is solely at the discretion of the Unit Manager and is to be deci-
ded on a case-by-case basis." Id. The "Unit Merager|...] will ensure appropriate acti is taken
regarding inmates whose actual payments where[4ic] less than expected."' Id. at ch. 8(c).

425. Petitioner asserts that Respondent may not delegate himself cut of the conflict of in-
terest of simultaneously acting, as Petitimer's trustee and debt collector. Nmetheless Petition-
ex notes that the sane unit manager who oversees IFRP acts directly in a trustee role, ¢.g., 'Ap-
proving officials for withdrawals shall be as follows: Unit Mamegers[... ]'' U.S. Dep't of Justice,
Fed. Bureau of Prisons, Progcan Statement: 2000.02 Accounting Management Manual at ch. 3(b) (Cet.
15, 1986).

426. IFRP payments are paid straight from the assets Respondent holds in trust for Petition
ex. U.S. Dep't.of Justice, Fed. Bureau of Prisms, Progran Statement 5380.08 Financial Responsi-
bility Program, Inmate at ch. 8(b) (Ag. 15, 2005).

427. ‘The use of IFRP to hold Petitioner in prism by denying him FSA credit to. which: he is
entitled in an effort to coerce Petitioner's assent to use trust assets to pay debts that the pay-
ees otherwise would be unlikely or unable to collect cannot be said to be in Petitioner's sole in-
terest as a beneficiary. Because Respondent's such use of IEFRP violates the lays of the United
States as to common-law trusts as unifoumly construed by U.S. courts, this Court should comend

Respondent to provide Petitioner any FSA credit Respondent withholds due to IERP.

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428. Next, the plain language of the First Step Act does-not allow Respondent to withhold
credit fran successful participants on the basis that a participant declined IFRP: "A prisoner, -
except for an ineligible prisoner [...], who successfully completes evidence-based recidivism re-
diction programing or productive activities, shall eam tine credits.’’ 18 U.S.C. § %32(d)(4).

429. Petitioer notes that Respondent has tried to establish ex post facto the IERP as an
FSA prodictive activity. See Proposed Rule 28 C.F.R. Pact 45, 88 FR 1331, 1335 ("The Bureau com
siders the IFRP to be an unstructured Prodictive Activity’').

430. But even this construction is unavailing for Resparient.

431, First, Respondent failed to specify the IERP as an FSA progran or activity. See U.S.
Dep't of Justice, Fed. Bureau of Prisons, Evidence-based Recidivism Reduction (EBRR) Proghams and

Phoductive Activities (PA) ("BERR & PA List") (posted by the FCI Re-entry Affairs Dept. Feb. 24,

 

2020), presum. dkt. 14 (IFRP not Listed).

432. Moce important, however, the relevant statute, again, simply does.not allow Respondent
to deny Petitioner credit for a program or activity Petitioner successfully completed die to Peti-
tioner's declining to participate similtanecusly in another progran or activity. 18 U.S.C. §
%32(d)(4) (partipants ear credit without mention to simultaneously campleting one progran or
activity while declining to complete anther)... 0. 6... .

433, Pexuiltimately, Petitioner asserts Respondent put Petitioner into IFRP refusal in direct
retaliation against Petitioner's reporting of Mc. Todd Royer's sexual abuse while Resporrient vio-
lated the Prison Rape Elimination Act (PREA), 34 U.S.C. § 30307(b) (the AG's PREA standards apply
to Respondent); 28 G.F.R. § 115.64(a)(1) (Respondent was lawfully required to separate Royer fron
Petitioner, rot allow Royer to choose Petitioer's IFRP payments).

4%. Last, Respondent cannot show that his IFRP procedures are sufficient to deny prisoners
the opportunity to eam senterce.credit, because Petitioner "has a protected liberty interest in
his good-time credits and credit-eaming class, and he may not be deprived of either without the
minimum requirements of due process." Cabligan v. Wilson, 362 F. App'x 543, 545 (7th Cir. 2009)
(citing Piggie v. McBride, 277 F.3d 922, 924 (7th Cir. 2002)). Petitioner's IFRP payments were

set entirely without his input or ability to contest; they were ultimatums, not hearings. . And, as

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relevent to the instant case, the IFRP payment plans in question were detenmined by Mr. Royer, an
official whom Respondent was required: ito separate from Petitioner to preclude retaliation, but
whom Respondent failed to separate from Petitioner despite Petitioer's timely raising the partic-
ular issue of IFRP. See FRJ Decl. at Si, 1 372, Lanner, dkt. 100 at 69 (Petitimer wrote S.I.S.
about Mc. Royer's setting his IFRP anamts but Respondent did nothing).

435. Qnce again, Respondent must immediately release Petitioner and credit Petitioner for .
Petitioner's overserved time.

I verify. the foregoing is: toue-.and correct under the penalty under the laws of ‘he United States
of America. 28 U.S.C. §§ 1742, 2242. Executed Smnday, January 22, 2023.

1 hers
Gottesfeld, pro 4e

Reg. no. 12982-104

Federal Correctimal Institution

P.O. Box 33

‘Terre Haute, IN 4788

CERTIFICATE OF SERVICE

I, Martin Gottesfeld, pro 42, certify that I caused a copy of the foregoing document to be served
on Respondent in the above-captioned case and upon his counsel under 28 C.F.R. § 540.203 (mail to
U.S. courts and judges is read for contents), by mailing this copy to the Cart Smday, Janary
22, 2023, or my first opportunity thereafter,

n/LOC—

Martin Gottesfeld.

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TRULINCS 12982104 - GOTTESFELD, MARTIN - Unit: THA-D-A

ma rms atte ame me octane ont hte nt haat tear mtd Stat heme ome make ene emt tes mre Dat aaron ehh soe meee tts

FROM: 12982104

TO: Kiriakou, John

SUBJECT: RE: RE: 2022-12-30|The cut the call

DATE: 01/03/2023 02:06:12 PM

2:06 P.M. Eastern Time, Tuesday, January 3, 2023

Dear John:

Circa 8:08 A.M. Eastern Time today | received your message below.

There was no legitimate reason to cut our call. Doing so implicated your First Amendment rights along with mine.

From the real-life **Chateau d'lf**,
/s/ MartyG.

It was indeed cut off abruptly and before the 15- minute mark.

 

MARTIN GOTTESFELD on 1/1/2023 9:06:11 AM wrote
8:55 A.M. Eastern Time Friday, December 30, 2022

Dear John, Attorney Brown and Lori:
| was talking with John at the 10-minute mark of our call about Operation Fast and Furious and they cut the call.
Please acknowledge this message.

From the real-life **Chateau d'If**,
/s/ Martin Gottesfeld.

 

 
 

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U.S. Department of Justice ee Regional Administrative Remedy Appeal

Federal Bureau of Prisons

 

 

Type or use bull-point pen. If attachments are needed, submit four copies. One copy of the completed BP-229(13) including any attachments must be submitted
with this appeal.

GOTTESFELD, MARTIN S. 12982-104 D FCI-THA
LAST NAME. FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION

Part A- REASON FOR APPEAL cantime to be denied any legal call whatsoever despite the clear fact that attorney cor-
respandence through other means is inadequate. Logs show I've not received a single legal call my entire time beck at FCL
THA. Logs also show my attempts to mail my attomeys were unsutcessfill. See, @g., Exh. 1 (mails retumed when addressed
to Attomey Benjamin Brown). Mailings of lesser weight, using the sane postal. services, however, arrive at and are proces-
sed at their destinations, incluting elsewhere in the Bureau. See, @.g., Exh. 2 (mails of remedies 1144715-R1 and -R2 mak
it to DS). I also have evidere preserved going back years of BOP staffers unlawfully reviewing my legal mailings both
in- and outbound for contents. Legal mail is therefore clearly inadequate. I an able, under these conditions, to retain
an "attormey of record," as the warden referenced. ‘the policy a "Frequent confidential inmate-attamey calls'' is mani-
festly inapplicable when I've been allowed no attomey call whatsoever in my entire time beck at the institutio. My pre-
ious attorney calls in the Bureau were never the most frequent even inside my own unit. The warden's demand that I and ny
attomeys divulge a "short court deadline or verifiable legal arergency’' is unlawful, because doing so forces me to waive
my attorney-client privilege. ‘lhe existerce of a court deadline or legal energency is itself privileged. See BP-9 (citing
Menasha Conp. v. United States DOJ, 707 F.3d 846, 847 (7th Cir. 2013) (Posner, J.); Fed. R. Civ. P. 26(b)(3)(A).
PRISONER'S SINGLE REQUEST—Please allow me the attorney calls to which I an unbiguously entitled but an nmetheless de-
nied in retaliation against my protected condct, e.g., litigation, publication and speech.

NO FURTHER RETALIATION PLEASE.

From:

20 JAN. 2023 (FRI.) SAVE DAY I REC'VED THE WIRDEN'S RESPONSES Co
DATE SIGNATURE OF REQUESTER

Part B - RESPONSE

 

 

 

DATE REGIONAL DIRECTOR
If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel’s Office within 30 calendar
days of the date of this response.

 

 

 

 

 

ORIGINAL: RETURN TOINMATE _CASE NUMBER: —___
Part C - RECEIPT
CASE NUMBER:
Return to:
LAST NAME, FIRST, MIDDLE INITIAL . REG. NO. UNIT INSTITUTION
SUBJECT:
DATE SIGNATURE, RECIPIENT OF REGIONAL APPEAL

&® BP-230(13)

USP LVN PRONTE ON RECYCLEO PAPER JUNE 2002

 

 
 

 

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NAME: MAR
NUMBER: |

TIN GOTTESFELD

2982-104

SPECTAL BAPL oe QP ER

Federal Prison Carnp

PO. Box 33
Terre Haute, it

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Special Mail——-Open only in

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& Confidential

| Attorney-Client Communication

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INMATE
IDENTIFICATION

 

CONFIRMED -

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TIN GOTTESFELD
982-104
orrectional Institution

reqre a, I a7
CONTOTS— Weetresday, Hovenber 20, 2022

«FORM BP-229(13); AND eo 42982-1042

«CONT. PG. IN GUADRUPLICATE. OS CC Bureau Of Prisons
Grand Prairde Office Cplx
346 Marine Forces DR
Grand Prairie, TX 75054
United States

 

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MBER: 12962-1040
Pt Serres CORRECTIONAL INSTITUTICH

NAME: MARTIN GOTTESFELD
B

AT808
CONTENTS —

+ FORM BP-230(13); AND
* CONT. PG. TN QUADRUPLICATE.

Wednesday, November 30, 2022

12982-1044

08 € C Bureau Of Prisons
Grand Prairie Office Cpix
346 Marine Forces DR
Grand Prairie, TX 75051
United States

BE VICE we

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Case 2:22-cv-00571-JRS-MJD Document 13-1 Filed 01/26/23 Page 18 of 36 PagelD #: 441

U.S. Department of Justice
Federal Bureau of Prisons

Federal Correctional Complex
Terre Haute, Indiana

 

 

 

\

© Institution [TRegion | | central
CMU Unit

 

 

 

Receipt of
Administrative Remedy

 

   

 

 

 

 

 

 

 

 

Inmate Name: GOTT Reg. No.:

Administrative TT46165-F 49

Remedy No.:

Received on this 70 dayof Donua og , 2023.
GAA CE She

Signature/Title of Staff

If Administrative Remedy is allowed to be resubmitted, it is due to a Unit Team staff
member by , 2023.

Edits received by Unit Team on this day of , 2023.

 

Signature/Title of Staff

 
 

Case 2:22-cv-00571-JRS-MJD Document 13-1 Filed 01/26/23 Page 19 of 36 PagelD #: 442

Remedy No.: 1146165-F1 FCC Terre Haute, IN
PART B - RESPONSE

This is in response to your Administrative Remedy receipted December 29, 2022, in
which you allege you are not able to receive legal calls unless there is a verifiable
deadline or emergency. For relief, you request legal calls granted unambiguously.

A review of your request reveals you are not denied legal calls. Pursuant to Program
Statement 5264.08, Inmate Telephone Regulations, “Frequent confidential inmate-
attorney calls should be allowed only when an inmate demonstrates that communication
with his or her attorney by other means is not adequate.” This is in direct conflict with
your request for legal calls whenever you wish. Your attorney of record may, at any time,
wish to contact the institution to schedule a legal call. You may contact your attorney
through other means of correspondence as necessary. As you have sent eleven (11)
letters out under special correspondence procedures, your claim of not being able to
send out legal mail is demonstrably false.

Therefore, your Request for Administrative Remedy is denied.
If you are dissatisfied with this response, you may appeal to the Regional Director, North
Central Regional Office, Federal Bureau of Prisons, 400 State Avenue, Suite 800,

Kansas City, Kansas 66101. Your appeal must be received within 20 calendar days of
the date of this response.

elas Fo

Date ‘ ! T. Rule, Warden

 

 

 
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US. iG a88, 2:22 cv-00571- -JRS-MJD Document 13- k RGR RRL (patiMsfRAtiVE REM Y 443
Federal Bureau of Prisons

Type or use ball-point pen. If attachments are needed, submit four copies. Additional instructions on reverse.

 

From: GOTTESFELD. MARTIN S. . 12982-104 D FCI-THA
LAST: NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION

Part A- INMATE REQUEST Please provide me the legal calls to which I an entitled with all of my lawyers and pro-_ :
spective lawyers, including Benjamin Brown, Shawn Shaffie and desse Sanchez. .I am denied legal calls unless and until my
attorneys and I waive my attorney-client privilege to divulge a "short court deadline or verifiable legal emergency.". See _
incl'd Letter: from Law Office of Benjamin Brown, Dec. 17, 2022, subm'd with incl'd BP-8 (quoti ng email from Case Manager :
Eisele). As Attorney Brown stated: "I have not said a thing: about. the substance of. any legal issues you. may have. That is
because I have not actually been able to arrange a conversation with you in privacy, in keeping with the privileged nature
of such a conversation. "Id. Thus I.am unable to retain representation. My or my attorneys’ disclosures of court dead-
lines and legal emergencies would waive privilege: "the purpose of ‘the privilege is:to hide internal 1i loan prepana-
Zions from adverse parties." Menasha Conp. v. United States DOJ, 707 F.3d 846, 847 (7th Cir. 2013) (Posner, J.) (citation
anitted). "The core of attorney work product consists of ‘the mental impressions, conclusions, opinions, or legal theor-
ies of a party's attorney or other representative concerning the litigation.'" Id. (quoting Fed. R. Civ. P. 26(b)(3)(A).
(ii)).. "The opposi ng party ‘shouldn't be allowed to take a free ride on the other party's research, or get the inside
dope on that party's strategy, or...invite the [trier of fact] to treat candid internal assessments of a party's legal
vulnerabilities as admissions of guilt.'" Id. (quoting Mathenson v. Baxter Heabthcone Conp., 438 F.3d 763, 768 (7th Cir.
2006); other citation omitted). I am unambiguous ly entitled to attorney calls. And, clearly, T am not ' ‘able to receive
privileged communications and send then via witten correspondence," as.alleged in the BP-8.answer. My. inbound legal mai]
is regularly opened and read outsideimy presence and my’ outbound mail to my lawyers is inexplicably returned to me even
when properly addressed. See, @.g-, USPS tracking info for # 9114 9022 0078 9988 6602 83 (mailed 12/5, RTS on 12/22).

°7 DEC. 2022 (TUF.) & carne use private carriers. See P.S. 5800.16 § 3.3. a
DATE The U.S.P.S. is part of the gv ‘te - SIGNATURE OF REQUESTER

Part B-- RESPONSE

 

 

RECEIVED ©

BEC 29 2077

"Administrative Remedy Clerk
FCC Terre Haute, IN

 

 

DATE , : o “WARDEN OR REGIONAL DIRECTOR -:

Uf dissatisfied with this response, you may appeal to the Regional Director. Your. appeal must be received in the Regional Office within 20 calendar & of the date of thi re
: 8 AY —.
ORIGINAL: RETURN TO INMATE ee ‘ SESS : CASE. NUMBER: sd \ ly Ly = ee

CASE NUMBER:
Part C- RECEIPT

Return to:

 

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT “INSTITUTION. —~
SUBJECT:

 

 

 

DATE RECIPIENT’S SIGNATURE (STAFF MEMBER) poss)
APRIL 1982.
PRETED ON RECICLED PAFER: . S SES s

 

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. Case 2:22-cv-00571-JRS-MJD_ Document 13-1 Filed 01/26/23. Page 21 of 36 PagelD #: 444

Attachment A
FCC Terre Haute
BP-8 - Informal Resolution

 

GOTTESFELD, MARTIN S. 12982-104 0

 

 

 

Notice to Inmate: Be advised, ordinarily, prior to filing a Request for Administrative Remedy, BP-229 (13), you
should attempt to informally resolve your complaint through your Correctional Counselor. Please refer to P.S.
1330.18, Administrative Remedy Program and the FCC Terre Haute Institutional Supplement thereto (both
available via the Law Library).

 

1. Briefly state inmate’s complaint (One complaint/issue per Form): I am denied legal calls unless and:unti]
my attorneys and I waive my attorney-client pri vilege to divulge a "short court deadline or verifiable
Tegal energency." See Letter from Law Office of Benjamin Brown, Dec. 17, 2022 (quoting email from
Case Manager Eisele). "I have not said a thing about the substance of any legal issues:you may have.
That is because I have not actually been able to arrange a conversation with you in privacy, in keep-
ing with the privileged nature of such a conversation." Id. Thus I am unable to retain legal repre-
sentation. My dismy attorneys' disclosures of court deadlines and legal emergencies would waive priv-
‘lege. See,.2.g., Menasha Conp. v. United States DOI, 707 F.3d 846, 847 (7th Cir. 2013). (Posner. J.)

 

 

   

(opposing party "shotildn't be allowed to take a free ride on the. other party's research...").

2. Requested Resolution: P]ease provide me the legal calls to which I am entitled with all of my
lawyers and prospective lawyers, including Benjamin Brown,:Séafi Shaffiie‘amd Jesse Sanchez.

I am signing this FCC Terre Haute BP-8—Informal Resolution at 1145 hrs. Wed., Dec. 21, 2022, and I
shall turn it in at my next opportunity.

 

 

1145 hrs. Wed., Dec. 21, 2022.

 

 

 

 

3, Staff Response:
You ave able. +o Yecewve privileged Communi cotions and Senedd +hem
vie wr tHen Corres pondence and the fe gal mai) Prouess .

 

 

Section 4: O Informally Resolved/Complaint Withdrawn [1 No informal Resolution/Progress to BP-9

 

 

Inmate‘s signature - Staff Printed Name/Signature Date

 

 

THX-1330.18D "Page §

 
yoase 2:22-Cv-00571-JRS-MJD Document 13-1 Filed 01/26/23 Page 22 of 36 PagelD #: 445

 

Law Office of Benjamin Brown Admitted to Practice before
: : : : the New York State Unified
155 Ferris Ave, Unit 9A, White Plains, New York 10603 Court System and the U.S.
914-393-5037 | BenjaminBrownLaw@outlook.com District Courts for the
Southern and Eastern
Districts of New York
Privileged and Confidential Attorney / Prospective Client
Communication

December 17, 2022

Martin S. Gottesfeid

| Register No. 12982-104

FCI Terre Haute

Federal Correctional Institution
P.O. Box 33

Terre Haute, IN 47808

 

Dear Marty,
I hope in this letter to provide some background information and clarification.

As of September 3rd of this year, I am no longer a full-time employee of Gina
DeCrescenzo, P.C., although I remain affiliated with that firm in an of-counsel
capacity. I have founded an independent law firm, Law Office of Benjamin
Brown, and am going to begin taking clients independently. This situation
gives me more freedom to potentially provide legal advice or assistance to you.
However, please note that the formation of an attorney-client relationship
between us would require the both of us entering into a written engagement
agreement. Until we have done that, we can still talk about the types of legal
advice or other legal assistance I might be able to provide you; those
conversations would be in the nature of conversations between a prospective
client (you) and an attorney (me) and provided they remained on the subject of
your legal issues and the potential legal advice/assistance | could provide you,
would be subject to attorney- client privilege as well as my ethical duty of
confidentiality as an attorney, with limited exceptions as provided in the New
York Rules of Professional Conduct for attorneys and other law.

Page 1 of 3

 

 
 

.Case 2:22-cv-00571-JRS-MJD Document 13-1 Filed 01/26/23 Page 23 of 36 PagelD #: 446

1 acknowledge upfront that as I am licensed only in the State of New York and,
among the Federal Courts, am admitted only in the Southern and Eastern
Districts of New York, the potential advice and assistance I can provide you is
limited because the range of actions I can take on your behalf is limited by the
forums I am allowed to practice in. I could, however, apply for pro hac vice
admission in other Federal courts, which expands the range of assistance I can
potentially provide.

You will notice that I have not said a thing about the substance of any legal
issues you may have. That is because J have not actually been able to arrange a
conversation with you in which privacy, in keeping with the privileged nature
of such a conversation, would be assured.

You have informed me in recent CorrLinks messages, such as your messages
sent by you November 30, 2022 and received by me December 1, 2022, that
your written correspondence with attorneys acting in their capacity as
attorneys is being opened and read by Bureau of Prisons personnel. I have kept
this in mind in choosing not to discuss the substance of any of your matters in
this letter.

On November 28, 2022, I wrote to your Bureau of Prisons Case Manager
Rebecca Eisele to seek an attorney call with you, and on November 29, 2022 she
responded. Her response was as follows:

Mr. Brown,

| have received your request and verified your information. If you would like a
legal call, please provide me with the short court deadline or verifiable legal
emergency so | may set it up. Any other issues must be handled via legal
correspondence. Once provided, | have times available next week for a call, if
approved.

As to this letter from me to you, I will not disclose this letter (unless you were
at some point to expressly authorize me to do so), but you are free to disclose
it. The attorney’s duty of confidentiality only goes in one direction. You are

 

1 Please note that I received your typewritten letters marked “special mail” dated
December 1, 2022 and December 2, 2022, and they arrived sealed, and there were no
signs that they had been opened or tampered with as far as I could see.

Page 2 of 3

 
 

;Case 2:22-Cv-00571-JRS-MJD Document 13-1 Filed 01/26/23 Page 24 of 36 PagelD #: 447

free to disclose the contents of our conversations with anyone. But disclosing
such a communication, including a letter such as this one, causes it to become
non-privileged! You should carefully consider whether it is in your interests to
make such disclosures.

For example, should you wish to disclose this letter in the course of an
administrative or legal challenge to the fact that you are being deprived of the
opportunity to have private conversations and/or private correspondence with
attorneys, that might well be in your interests and appropriate, even though it
could cause the letter to become non-privileged.

Very truly yours,

(or

Benjamin Brown, Attorney and
Counsellor-at-Law

Law Office of Benjamin Brown
155 Ferris Ave, Unit 9A

White Plains, NY 10603
914-393-5037
BenjaminBrownLaw@outlook.com

Page 3 of 3

 
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North Central Region
400 State AVE
Kansas CITY, KS 66101-2492
United States

 

 

 
 

Case eee OO RRM Document 13-1 Filed 01/26/23 Page 26 of 36 PagelD #: 449
Exh: le

TRULINCS 12982104 - GOTTESFELD, MARTIN - Unit: THA-D-A

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FROM: 12982104

TO: Brown, Benjamin; Fortin, Lori; Mcmillen, Alexi
SUBJECT: No messages today|2023-01-18
DATE: 01/18/2023 03:23:36 PM

3:23 P.M. Eastern Time, Wednesday, January 18, 2023

Re No messages today|2023-01-18
Alt. Subj. **Gottesfeld v. Rule**, 2:22-cv-571-JRS-MJD (S.D. Ind.)

Dear Attorney Brown, Lori and Lexi:
I've received no electronic messages today. If none were went, then no worries, but | doubt such to be the case.

Also, the new case manager here just handed me a thick stack of duplicate remedy receipts. In all only about six individual
remedies were acknowledged therein. And about half or more of those had already been acknowledged.

My Request for Administrative Remedy ("BP-9") for attorney calls was **not** present in the stack and remains totally
unacknowledged.

From the real-life **Chateau d'lf**,
/s/ Martin Gottesfeld.

 

 
Case 2:22-cv-00571-JRS-MJD Document 13-1 Filed 01/26/23 Page 27 of 36 PagelD #: 450

 

Z yk: re
Attachment A
FCC Terre Haute
BP-8 - Informal Resolution
NAME NUMBER UNIT
GOTTESFELD, MARTIN 12982-104 D

 

 

 

Notice to Inmate: Be advised, ordinarily, prior to filing a Request for Administrative Remedy, BP-229 (13), you
should attempt to informally resolve your complaint through your Correctional Counselor. Please refer to P.S.
1330.18, Administrative Remedy Program and the FCC Terre Haute Institutional Supplement thereto (both
available via the Law Library).

 

1. Briefly state inmate’s complaint (One complaint/issue per Form): The Bureau operates with conflicts of im
terest as a trustee of the inmte trust find alveresly affecting me as a beneficiary. "Tt is well-es-
tablished that a conmon-law trust arises when three elements are present, namely, a trustee, a bene-
ficiary, and a trust corpus.'' White Mt. Apache Tribe v. United States, 249 F.3d 1364, 1373 (Fed. Cir.
2001) (citing Restatenent (Second) of Trusts § 2 ant. h (1959)) (other citations anitted). See also
31 U.S.C. § 1321(a) (‘The following are classified as trust funds[... | (21) Funds of Federal Prison-2
ers[...| (22) Commissary funds, Federal prisoners").

In this instance of the inmate trust fund, the Bureau is the trustee and fiduciary, the-settlors
ace prisoners' families and other benefactors, the trust corpus is the money SEE CONTINUATION PAGE->

 

 

2. Requested Resolution: Please resolVe BOP's conflicts of interest as to its trusteeship of assets it
holds for me in trust, including the I've incurred. -
T an turning-in this Informal Resolution (“'BP-8") Thursday, January 19, 2023, or my first opportunity
thereafter.

 

xno 19 JAN 2023 (THU.).

 

 

 

 

 

 

 

 

 

 

3. Staff Response:

 

Section 4: 0 Informally Resolved/Complaint Withdrawn ( No Informal Resolution/Progress to BP-9

 

 

 

Inmate's signature Staff Printed Name/Signature Date

 

 

THX-1330.18D Page 5
Case 2:22-cv-00571-JRS-MJD Document 13-1 Filed 01/26/23 Page 28 of 36 PagelD #: 451

INFORMAL RESOLUATION ("BP-8'") CONT. PG. 1 OF 1

the settlors sem] to the BOP for the prisoners, and the benficiaries are the prismers. Other laws
and regulations, e.g., 18 U.S.C. § 3664 (restitution for property crimes), 28 C.F.R. Part 545 (IERP),
fail to alter these facts.

The D.C. Circuit agrees: The "Inmate Trust Find" is "a trust administered by the United States

t that provides prograns, goods, and services to federal prison inmates nationwide." Muydak
v. United States, 630 F.3d 166, 168 (D.C. Cir. 2010). In that case, where the BOP used trust assets
for law-enforcerent purposes, the district court properly supervised that the "BOP had satisfactorily
reinbursed the Trust Fund for any misappropriations.'' Id. at 169.

This was required because, "Fiduciaries have an unflagging duty of loyalty to the beneficiaries
whom they serve, and to avoid conflicts of interest."" In xe Sunshine Jn. Stones, Inc., 456 Fd
1291, 1315 (11th Gir. 2006) (citation omitted).

More specifically: 'A fiduciary of a trust has 'a duty to the beneficiary to administer the trust
solely in the interest of the beneficiary." Davis v. Richards, 7 F.4th 5% (7th Cir. 2021) (quoting
Restatanent (Second) of Trusts § 170(1)) (emphasis added). "The reas for such a strict and exelu-
dive duty of loyalty stems fron the unique trust relationship, where a third party is entrusted with
a settlor's property to be used for the beneficiary."' Id. (emphasis added).

But. the BOP's loyalty is conflicted and I an adversely affected. First, the BOP has fined me $50
from the trust assets held specifically for me as a result of Court-access incident report (IR)
3338082. Second, the BOP uses its fiduciarily privileged knowledge of the assets it holds for me in
trust adversely to me to benefit itself (the goverment) and third parties when the BOP acts as a
debt- and lawenforcer through the Inmte Financial Responsibility Progran (IFRP). It coerces me to
accece to distribution of trust assets under duress through 28 G.F.R. § 545.11(d) (nishments for
those who decline to allow the trustee to distribute trust assets to adverse third parties). And it
now looks to intensify these pmistments. See Proposed Rule 28 GF.R. Part 545, 88 FR 1331.

No trustee may lawfully force its beneficiary to choose between further incarceration and paying a
debt to a third party that the payee otherwise would be unlikely or vholly unable to collllect. Such
is no less than the retumm of debtors’ prisons. ‘Thus the BOP, as trustee, acts illegally in its om
selfish lawenforcerent and political interest, to the detriment of its beneficiary (me), to punish
me further to collect otherwise uncollectable or hard-to-collect debt payable to itself (the goverfi
ment) and third parties. and create new, illegitimate debts.

ie oO
MARTIN 19 JAN. 2023 (THU.).
 

Case 2:26-0V, 008 72- JRS-MJD Document 13-1 Filed 01/26/23 Page 29 of 36 PagelD #: 452
eM,

TRULINCS 12982104 - GOTTESFELD, MARTIN - Unit: THA-D-A

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FROM: 12982104

TO: Brown, Benjamin; Fortin, Lori; Kiriakou, John; Mcmillen, Alexi; Peretz Mockin, Rabbi
SUBJECT: No messages two days in a row|2023-01-19

DATE: 01/19/2023 05:56:42 PM

5:56 P.M. Eastern Time, Thursday, January 19, 2023

Dear Attorney Brown, Lori, John, Rabbi Mockin and Lexi:

Kindly be advised that if you've sent me electronic correspondence after circa 7:21 A.M. Tuesday, January 17, 2023, I'm yet to
receive it.

| manually type an inline timestamp in all my outbound messages. | do this because my messages may take days to arrive to
you and always arrive to you with the system reflecting the timestamp of when the censors allowed them through, as opposed
to when | actually sent them.

From the real-life **Chateau d'lf**,
/s/ MartyG.

 
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FINAN SL GL

RESTS:

 

 

BP-A0327 RETURNED CORRESPONDENCE — cprrM

APR 10

U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

     

 

 

 

TO: (Sender-See Return Address) FROM: (Institution)
Dana Gottesfled Federal Correctional Complex
28 Albion St. Apt. 1 PO Box 33
Somerville, MA 02143 Terre Haute, IN 47808
|
Rit (eames s Name and Register No.) DATE: ee \ wn 623-01-(4
Gottesfeld, Martin, Reg. No: 12982-104 January 4, 2023 by LAS

 

 

SUBJECT: Correspondence Returned

Your correspondence is being returned. This correspondence was not delivered
because:

In accordance with Federal Bureau of Prisons Program Statement 5265.14 and 5214.02
correspondence from this sender is being rejected. This is an unauthorized contact.

 

The rejection of this correspondence is in accordance with the Federal Bureau of
Prisons policy on“Correspondence” as published in Title 28 Code of Federal
Regulations, Part 540 and in the Federal Bureau of Prisons Program Statement on
correspondence. You have the right to appeal this rejection by writing the Warden
in care of the above address. The inmate to whom you addressed your correspondence
has been notified that this correspondence has been returned to you and of his or
her right to appeal the rejection.

?

   
  
 

T. Rule, Warden
(Printed or Typed Name and Witten Signature of the Warden)

Record Copy - Addressee (with Correspondence); Copy ~ Inmate; Copy ~ File (with copy of
Correspondence)

WDP Prescribed by P5800 Replaces BP-327(58) of FEB 84
 

 

Case 2:22-C 000 71 -SRS MID Document 13-1 Filed 01/26/23

TRULINCS 12982104 - GOTTESFELD, MARTIN - Unit: THA-D-A

eee i ee ee eee et se a waste emt ek tt mms ee etek ms

FROM: 12982104

TO: Brown, Benjamin; Fortin, Lori; Memillen, Alexi
SUBJECT: Docket & tracking update?|2023-01-19
DATE: 01/19/2023 11:30:49 AM

11:30 A.M. Eastern Time, Thursday, January 19, 2023

Re Docket & tracking update?|2023-01-19
Alt. Subj. **Gottesfeld v. Rule**, 2:22-cv-571-JRS-MJD (S.D. Ind.)

Dear Lori, Lexi and Attorney Brown:
May | please get updates as to
1) whether any new entries after number 12 appear on the **Rule** docket and

2) the latest USPS tracking information?

Thanks,
/s/ Martin Gottesfeld, Petitioner, **pro se**.

Page 31 of 36 PagelD #: 454

 
Case 2:22-cv-00571-JRS-MJD Document 13-1 Filed 01/26/23 Page 32 of 36 PagelD #: 455

U.S. Department of Justice YZ he : Central Office Administrative Remedy Appeal

Federal Bureau of Prisons

   

SR ae ara ee BC ee EEE ey ae EF eeey ae a Ge SL en SR ST ee
Type or use ballpoint pen. If attachments are needed, submit four copies. One copy each of the completed BP-DIR-9 and BP-DIR-10, including any attach—
ments must be submitted with this appeal.

From: GOTTESFELD, MARTIN S. 12982-104 D FCI-THA

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. : UNIT INSTITUTION

Part A—REASON FOR APPEAL "'[F Jounal. adninistrative remedy requests regarding initial decisions that did not originat
with the Warden[4ic] or his/her staff, may be initially filed with the Bureau office which mece the original decision." 2
G.F.R. § 542.14(d)(5) (June 18, 2010; 75 FR 34625, 34626). ‘This is such a request because it seeks anendnent of a Progran
Statement issued by Correctional Prograns Division (CPD) in the central office. PRISONER'S SINGLE REQUEST—Please anend
Prog. Stat. 5380.08 Financial Respmsibility Progran, Inmate (quoting 28 C.F.R. Part 545) (Aur. 15, 2005) to comply with
the Bureau's fiduciary duty of loyalty and avoidance of conflicts of interest. "The following are classified as trust
funds[...] (21) Funds of Federal prisoners[... | (22) Gamissary funds, Federal prisms." 31 U.S.C. § 1321(a). "Tt is well
established that a common-law trust arises when three elements are present, nately, a trustee, a beneficiary, and a trust
carpus." White Mts Apache Tribe v. United States, 249 F.3d 1364, 1373 (Fed. Cir. 2001) (citing Restatement (Second) of
Trusts § 2 cmt. h (1959)) (other citations omitted). For the inmte trust fund, the Bureau is the trustee and fiduciary,
the settlors are prisoners’ families and other benefactors, the trust corpus is the money the settlors sad to the BP for
the prisoners’ benefit, and the beneficiaries are the prisoners. Other laws and regulations fail ‘to alter these facts, ©
@g. 18 U.S.C. §§ 363A (restitution required for dig crimes), 3664 (restitution required for property crimes), 28 GF.R.
Part 545 (IFRP). ‘the D.C. Circuit agrees: The Inmate Trust Fund" is "a trust administered by the United States governmn
that provides programs, goods, and services to federal prison inmates nationwide." Maydak v. United States, 630 F.3d 16,
168 (D.C. Cir. 2010). In that case, where the Bureau used trust assets for lawenforcenent purposes, the district court

 

 

properly supervised that the "BOP had satisfactorily reimbursed the Trust Fund far any misappropriations." Id. at 169.
PLEASE SEE CONTINUATION PAGE ->
19 JAN. 2023 (THU. ) 4 ts be
DATE SIGNATURE OF. REQUESTER

 

Part B—RESPONSE

 

 

DATE , GENERAL COUNSEL

ORIGINAL: RETURN TO INMATE CASE NUMBER:

Part C—RECEIJPT
CASE NUMBER:

Return to:

 

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
SUBJECT:

 

3

 

 

DATE @&) SIGNATURE OF RECIPIENT OF CENTRAL OFFICE APPEAL BP-231(13)
Case 2:22-cv-00571-JRS-MJD Document 13-1 Filed 01/26/23 Page 33 of 36 PagelD #: 456

CENTRAL OFFICE ADMINISIRATIVE REMEDY REQUEST (28 G.F.R. § 542.14(d)(5)) CONT. PG. 1 OF 1
GOTTESFELD, MARTIN S. 12982-104 D-UNIT FCI-THA

This was required because, "Fiduciriaries have an unflagging duty of loyalty to the beneficiaries
whan they serve;..and to avoid conflicts of interest."" In xe Sumhine Jn. Stones, Inc., 456 F.3d
1291, 1315 (11th Cir. 2006) (citation anitted).

More specifically: "A fiduciary of a trust has ‘a duty to the beneficiary to administer the «.
trust solely in the interest of the beneficiary."" Davis v. Richards, 7 F.4th 534 (7th Gir. 2021)
(quoting Restatement (Second) of Trusts § 170(1)) (amphasis added). "The reason for such a strict
and exclusive duty of loyalty stans from the unique trust relationship, where a third party is er
trusted with a settlor's property to be used for the beneficiary." Id. (emphasis added).

But the Bureau's loyalty is conflicted and I an adversely affected. "The Victim and Witness
Protection Act of 1982, the Victims of Crime Act of 1984, the Comprehensive Crime Control Act of
1984, and the Federal Debt Collection Procedures Act of 1990 require a diligent effort on the part
of all law enforcanent agencies to collect court-ordered financial obligations."' Prog. Stat.
5280.08 at ch. 1. "Appropriate consequences: will be incurred for inmates who refuse to partici-
pate in the Imete Financial Responsibility Progran or fail to comply with their financial plan's
peovisims." Id. at ch. 3(c). "The inmate is responsible for [.:. providing documentation of
|... payments to unit staff."' Id. at ch. 8: (quoting 28 C.F.R. § 545.11(b)) (alterations added).
"At each progran review, when reviewing the inmate's financial plan, the Unit Team mist: detemmine
the total fumds deposited into the inmate's trust fund account." Id.-at 8(b). 'The Unit Manager
is the determining authority when it canes to deciding whether en inmte's IFRP payments are com
mensurate with his/her ability to pay. This decision is solely at the discretion of the Unit Men-
ager and is to be decided on a case-by-case basis."" Id. The "Unit Manager[... | will ensure ap-
propriate action is taken regarding inmates whose actual payments wherel4ic] less than expected."
Id. at ch. 8(c).

The Unit Manager is in charge of other.distributions in a trustee role, e.g., "Approving offi-
cials for withdrawals shall be as follows: ! Unit Managers."! Prog. Stat. 2000.02 Accounting Man-
agement Manual at ch. 3(b) (Oct. 15, 1986).

More broadly, the BOP uses its fiduciarily privileged knowledge of the assets it holds for me
in trust adversely to me to benefit itself (the goverrment) and third perties when the BOP acts as
a debt! and lawenforcer through Prog. Stat. 5380.08. It coerces me to accede te~escede to dis-
tribution of trust assets under duress through Prog. Stat. 5380.08 at ch. 8(d) (quoting 28 C.F-.R.
§ 545.11(d)) (nonpayments prevents furloughs to visit settlors, performance and Honus pay, outside
work detail, UNIOQOR, commissary expenditures over $25 a month, participation in comnity-based
programs, release gratuity and RDAP incentives)). Some of those adverse consequences lengthen in-
carceration, @.g., deprivations of community-based programs and incentives for RDAP, and affect me
personally and my assent under duress to participate in the IFRP.

No trustee may lawfully force its beneficiary to choose between further incarceration and pay-
ing a debt to a third party that the payee otherwise would be unlikely or wholly unable to col-. |
lect. Such is no less than the retum of debtors’ prisons. ‘Thus the BOP, as trustee, acts illes-
ally in its om selfish law-enforcement and political interest, to the detriment of its benefici-
ary (m), to punish me further to collect otherwise uncollectable or hard-to-collect debt payable
to itself (the goverrment) and third parties (Boston Children's Hospital, Wayside).

Prog. Stat. 5380.08 must be anended to remove the Bureau's conflicts of interest and enforce
its duty of loyalty owed solely to the beneficiaries of the inmate trust fund, i.e. the prismers,
including myself. ‘The adverse consequences in that Prog. Stat. inflicted by the Bureau as trustee
are not in my interest and are far worse for me than the yet-paid debt. ‘Thus the IFRP is not com
ducted for my benefit but for the Bureau's et al.'s,

bee Corus 19 JAN. 2023 (THU.).
MAR TESFELD
 

 

 

Case 2:

MARTIN GOTTESFELD

REG. NO. 12982-1104 |

FEDERAL CORRECTIONAL INSTITUTION
P.O. BOK 33

TERRE HAUTE, IN 47808

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7850-16-000- 7988

CONTENIS=*) FORM BP-231(13) (pp. il’) AND +) CONT. PG. IN QUADRUPLICATE,
CENTRAL -OFFICE REMEDY RE PROG. STAT. 3380.08 CIERP), § ae 14(d)(5)
Thursday, yay 1), 2023

 

 
 

|

Case 2:22-cv-0Q TIRE MID Document 13-1 Filed 01/26/23 Page 35 of 36 PagelD #: 458
Date: 01/20/2023 7 ¢ 6 Location: THA

Time: 07:08:27 PM .
Federal Bureau of Prisons

Media Transactions - TRULINCS
Personal Inmate Information

Inmate No: 12982104 Inmate Name: GOTTESFELD, MARTIN.

 

 

 

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Holidays

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Inmate #: 12982104

 
Case 2:22-cV- 008 71-ARS MIB ZPocument 13-1 Filed 01/26/23 Page 36 of 36 PagelD #: 459

TRULINCS 12982104 - GOTTESFELD, MARTIN - Unit: THA-D-A

FROM: 12982104

TO: Brown, Benjamin; Fortin, Lori; Mcmillen, Alexi
SUBJECT: **Rule** dkts. 1-1 **et seq.**|2023-01-15
DATE: 01/15/2023 09:00:14 PM

8:59 P.M. Eastern Time, Sunday, January 15, 2023

Re **Rule** dkts. 1-1 **et seq.**|2023-01-15
Alt. Subj. **Gottesfeld v. Rule**, No. 2:22-cv-571-JRS-MJD (S.D. Ind.)

Dear Lori, Attorney Brown and Lexi:

| received dkts. 1, 1-1 **et seq.**, 5, 5-1 and 7-1 from Lori the other day. Most seems in order.

| now understand my amended petition to be at dkt. 12. Please disregard my prior confusion.

| do have some questions about the exhibits to the original petition, to which | continued to cite in my amended petition.
Please confirm the docket reflects as follows:

Exhibit 13, dkt. 1-13, should have the following pages:

2 1) an FCC Terre Haute BP-8 - Informal Resolution;
2) a "BP-8"---INFORMAL RESOLUTION CONT. PG..

 

Exhibit 14, dkt. 1-14, should have the following pages:

1) a Request for Administrative Remedy citing continuation page;

2) a REQUEST FOR ADMINISTRATIVE REMEDY CONT. PG. 1 of 1;

3) a Regional Administrative Remedy Appeal form;

4) a REGIONAL ADMINISTRATIVE REMEDY APPEAL CONT. PG. 1 of 1;
5) another Regional Administrative Remedy Appeal form.; and

6) a proof of mailing showing three white envelopes with tracking labels.

Exhibit 15, dkt. 1-15, should have the following pages:

1) an August 8, 2022, MEMORANDUM FOR: Administrative Remedy Coordinator by M. Wallace re Remedy 1120431-R2;
2) REJECTION NTOICE - ADMINISTRATIVE REMEDY for REMEDY ID 1120431-R2; and

3) a Regional Administrative Remedy Appeal resubmission of remedy ID 1120431-R1.

is this the same as PACER reflects? If so, some pages got mixed-up and I'll have to send a notice to update the Court.

Regards,
/s/ Martin Gottesfeld, Petitioner, **pro se**.

 

 
